                      UNITED STATES OF AMERICA
                   MERIT SYSTEMS PROTECTION BOARD


JORGE L. ALVAREZ,                               DOCKET NUMBER
              Appellant,                        PH-844E-20-0023-I-1

             v.

OFFICE OF PERSONNEL                             DATE: August 20, 2024
  MANAGEMENT,
              Agency.



        THIS FINAL ORDER IS NONPRECEDENTIAL 1

      Kevin A. Graham , Esquire, Liberty, Missouri, for the appellant.

      Albert Pete Alston, Jr. , and Linnette Scott , Washington, D.C., for the
        agency.

                                      BEFORE

                           Cathy A. Harris, Chairman
                        Raymond A. Limon, Vice Chairman
                            Henry J. Kerner, Member


                                  FINAL ORDER

      The appellant has filed a petition for review of the initial decision, which
affirmed the reconsideration decision of the Office of Personnel Management that
denied his application for disability retirement under the Federal Employees’
Retirement System (FERS). Generally, we grant petitions such as this one only in
1
   A nonprecedential order is one that the Board has determined does not add
significantly to the body of MSPB case law. Parties may cite nonprecedential orders,
but such orders have no precedential value; the Board and administrative judges are not
required to follow or distinguish them in any future decisions. In contrast, a
precedential decision issued as an Opinion and Order has been identified by the Board
as significantly contributing to the Board’s case law. See 5 C.F.R. § 1201.117(c).
                                                                                     2

the following circumstances: the initial decision contains erroneous findings of
material fact; the initial decision is based on an erroneous interpretation of statute
or regulation or the erroneous application of the law to the facts of the case; the
administrative judge’s rulings during either the course of the appeal or the initial
decision were not consistent with required procedures or involved an abuse of
discretion, and the resulting error affected the outcome of the case; or new and
material evidence or legal argument is available that, despite the petitioner’s due
diligence, was not available when the record closed.         Title 5 of the Code of
Federal Regulations, section 1201.115 (5 C.F.R. § 1201.115).             After fully
considering the filings in this appeal, we conclude that the petitioner has not
established any basis under section 1201.115 for granting the petition for review.
Therefore, we DENY the petition for review and AFFIRM the initial decision,
which is now the Board’s final decision. 5 C.F.R. § 1201.113(b).
      On petition for review, the appellant argues that the record evidence
establishes that he became disabled during his employment with the U.S. Postal
Service.   Petition for Review (PFR) File, Tab 3 at 7.          He argues that the
administrative judge failed to consider all of the documentation in the record,
including information regarding his attendance and leave and medical evidence
concerning his mental health and respiratory problems. Id. at 7-12. Finally, he
challenges the administrative judge’s credibility determinations regarding the
testimony of the appellant, his wife, and his former supervisor. Id. at 8-9, 12-13.
The administrative judge properly considered both the objective medical
evidence, contemporaneous to his Federal service and over the more than 2 years
between his resignation and the hearing, and the appellant’s subjective accounts
of his breathing and psychological symptoms in finding that the appellant failed
to establish that he became disabled while employed in a position subject to
FERS. Initial Appeal File, Tab 31, Initial Decision (ID) at 4-8; see Henderson v.
Office of Personnel Management, 117 M.S.P.R. 313, ¶¶ 19-20 (2012) (stating that
the Board will consider all relevant objective and subjective evidence in
                                                                                      3

determining an appellant’s entitlement to disability retirement). Having reviewed
the record evidence and considered his arguments on review, which largely
constitute mere disagreement with the administrative judge’s findings, we agree
that the appellant failed to establish his entitlement to disability retirement
benefits.   PFR File, Tab 3 at 7-14; ID at 4-8; see Henderson v. Office of
Personnel Management, 109 M.S.P.R. 529, ¶ 8 (2008) (setting forth the criteria
that an applicant must meet in order to qualify for disability retirement benefits);
5 C.F.R. § 844.103(a)(2).

                         NOTICE OF APPEAL RIGHTS 2
      You may obtain review of this final decision. 5 U.S.C. § 7703(a)(1). By
statute, the nature of your claims determines the time limit for seeking such
review and the appropriate forum with which to file.            5 U.S.C. § 7703(b).
Although we offer the following summary of available appeal rights, the Merit
Systems Protection Board does not provide legal advice on which option is most
appropriate for your situation and the rights described below do not represent a
statement of how courts will rule regarding which cases fall within their
jurisdiction.   If you wish to seek review of this final decision, you should
immediately review the law applicable to your claims and carefully follow all
filing time limits and requirements. Failure to file within the applicable time
limit may result in the dismissal of your case by your chosen forum.
      Please read carefully each of the three main possible choices of review
below to decide which one applies to your particular case. If you have questions
about whether a particular forum is the appropriate one to review your case, you
should contact that forum for more information.

      (1) Judicial review in general . As a general rule, an appellant seeking
judicial review of a final Board order must file a petition for review with the U.S.
2
  Since the issuance of the initial decision in this matter, the Board may have updated
the notice of review rights included in final decisions. As indicated in the notice, the
Board cannot advise which option is most appropriate in any matter.
                                                                                         4

Court of Appeals for the Federal Circuit, which must be received by the court
within 60 calendar days of the date of issuance of this decision.                5 U.S.C.
§ 7703(b)(1)(A).
      If you submit a petition for review to the U.S. Court of Appeals for the
Federal   Circuit,   you   must   submit   your   petition    to   the   court    at   the
following address:
                              U.S. Court of Appeals
                              for the Federal Circuit
                             717 Madison Place, N.W.
                             Washington, D.C. 20439

      Additional information about the U.S. Court of Appeals for the Federal
Circuit is available at the court’s website, www.cafc.uscourts.gov. Of particular
relevance is the court’s “Guide for Pro Se Petitioners and Appellants,” which is
contained within the court’s Rules of Practice, and Forms 5, 6, 10, and 11.
      If you are interested in securing pro bono representation for an appeal to
the U.S. Court of Appeals for the Federal Circuit, you may visit our website at
http://www.mspb.gov/probono for information regarding pro bono representation
for Merit Systems Protection Board appellants before the Federal Circuit. The
Board neither endorses the services provided by any attorney nor warrants that
any attorney will accept representation in a given case.

      (2) Judicial   or    EEOC    review    of   cases      involving   a   claim      of
discrimination . This option applies to you only if you have claimed that you
were affected by an action that is appealable to the Board and that such action
was based, in whole or in part, on unlawful discrimination. If so, you may obtain
judicial review of this decision—including a disposition of your discrimination
claims —by filing a civil action with an appropriate U.S. district court ( not the
U.S. Court of Appeals for the Federal Circuit), within 30 calendar days after you
receive this decision.      5 U.S.C. § 7703(b)(2); see Perry v. Merit Systems
Protection Board, 582 U.S. 420 (2017). If you have a representative in this case,
                                                                                  5

and your representative receives this decision before you do, then you must file
with the district court no later than 30 calendar days after your representative
receives this decision. If the action involves a claim of discrimination based on
race, color, religion, sex, national origin, or a disabling condition, you may be
entitled to representation by a court-appointed lawyer and to waiver of any
requirement of prepayment of fees, costs, or other security.        See 42 U.S.C.
§ 2000e-5(f) and 29 U.S.C. § 794a.
      Contact information for U.S. district courts can be found at their respective
websites, which can be accessed through the link below:
      http://www.uscourts.gov/Court_Locator/CourtWebsites.aspx .
      Alternatively, you may request review by the Equal Employment
Opportunity Commission (EEOC) of your discrimination claims only, excluding
all other issues . 5 U.S.C. § 7702(b)(1). You must file any such request with the
EEOC’s Office of Federal Operations within 30 calendar days after you receive
this decision. 5 U.S.C. § 7702(b)(1). If you have a representative in this case,
and your representative receives this decision before you do, then you must file
with the EEOC no later than 30 calendar days after your representative receives
this decision.
      If you submit a request for review to the EEOC by regular U.S. mail, the
address of the EEOC is:
                         Office of Federal Operations
                  Equal Employment Opportunity Commission
                               P.O. Box 77960
                          Washington, D.C. 20013

      If you submit a request for review to the EEOC via commercial delivery or
by a method requiring a signature, it must be addressed to:
                         Office of Federal Operations
                  Equal Employment Opportunity Commission
                              131 M Street, N.E.
                                Suite 5SW12G
                          Washington, D.C. 20507
                                                                                      6

      (3) Judicial    review     pursuant    to   the    Whistleblower      Protection
Enhancement Act of 2012 . This option applies to you only if you have raised
claims of reprisal for whistleblowing disclosures under 5 U.S.C. § 2302(b)(8) or
other protected activities listed in 5 U.S.C. § 2302(b)(9)(A)(i), (B), (C), or (D).
If so, and your judicial petition for review “raises no challenge to the Board’s
disposition of allegations of a prohibited personnel practice described in section
2302(b) other than practices described in section 2302(b)(8), or 2302(b)(9)(A)(i),
(B), (C), or (D),” then you may file a petition for judicial review either with the
U.S. Court of Appeals for the Federal Circuit or any court of appeals of
competent jurisdiction. 3   The court of appeals must receive your petition for
review within 60 days of the date of issuance of this decision.               5 U.S.C.
§ 7703(b)(1)(B).
      If you submit a petition for judicial review to the U.S. Court of Appeals for
the Federal Circuit, you must submit your petition to the court at the
following address:
                                U.S. Court of Appeals
                                for the Federal Circuit
                               717 Madison Place, N.W.
                               Washington, D.C. 20439

      Additional information about the U.S. Court of Appeals for the Federal
Circuit is available at the court’s website, www.cafc.uscourts.gov. Of particular
relevance is the court’s “Guide for Pro Se Petitioners and Appellants,” which is
contained within the court’s Rules of Practice, and Forms 5, 6, 10, and 11.



3
   The original statutory provision that provided for judicial review of certain
whistleblower claims by any court of appeals of competent jurisdiction expired on
December 27, 2017. The All Circuit Review Act, signed into law by the President on
July 7, 2018, permanently allows appellants to file petitions for judicial review of
MSPB decisions in certain whistleblower reprisal cases with the U.S. Court of Appeals
for the Federal Circuit or any other circuit court of appeals of competent jurisdiction.
The All Circuit Review Act is retroactive to November 26, 2017. Pub. L. No. 115-195,
132 Stat. 1510.
                                                                              7

      If you are interested in securing pro bono representation for an appeal to
the U.S. Court of Appeals for the Federal Circuit, you may visit our website at
http://www.mspb.gov/probono for information regarding pro bono representation
for Merit Systems Protection Board appellants before the Federal Circuit. The
Board neither endorses the services provided by any attorney nor warrants that
any attorney will accept representation in a given case.
      Contact information for the courts of appeals can be found at their
respective websites, which can be accessed through the link below:
      http://www.uscourts.gov/Court_Locator/CourtWebsites.aspx .




FOR THE BOARD:                        ______________________________
                                      Gina K. Grippando
                                      Clerk of the Board
Washington, D.C.
